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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


  UNITED STATES OF AMERICA,

                 Plaintiff,                                   Case No. 16-20460
                                                              Hon. Mark A. Goldsmith
  vs.

  D-4 LOMNIL JACKSON,

              Defendant.
  _______________________________/

                        OPINION & ORDER
   DENYING DEFENDANT LOMNIL JACKSON’S MOTION FOR COMPASSIONATE
                        RELEASE (Dkt. 1329)

         This matter is before the Court on Defendant Lomnil Jackson’s motion for compassionate

  release (Dkt. 1329). Jackson pleaded guilty to racketeering conspiracy, in violation of 18 U.S.C.

  § 1962(d), and he admitted to being a member of the Six Mile Chedda Grove criminal enterprise

  (“Six Mile”). As a member of Six Mile, Jackson admitted to conspiring to commit murders and

  distributing controlled substances while armed. On October 31, 2019, the Court sentenced Jackson

  to 150 months’ custodial sentence, which he began serving that same day. See Judgement (Dkt.

  1127). Jackson seeks compassionate release and requests that the Court reduce the remaining

  years of his prison sentence to time served, because of the dangers posed by COVID-19. The

  Government filed a response brief opposing such relief (Dkt. 1340), to which Jackson filed a reply

  in the form of a declaration (Dkt. 1348). For the reasons that follow, Jackson’s motion is denied.

                                      I.     BACKGROUND

         Jackson is currently serving his sentence at Victorville USP in Victorville, California. The

  Bureau of Prisons’ (“BOP”) website reports that at Victorville USP there are 177 inmates and 24
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  staff member with active cases of COVID-19.1 The BOP has implemented a COVID-19 action

  plan to minimize the risk of COVID-19 transmission into and within its facilities, which includes

  quarantining inmates, taking social distancing measures, and providing personal protective

  equipment to staff and inmates. Resp. at 7-12. Jackson made a request to the warden for

  compassionate release, asserting that his obesity, asthma, serious functional impairment, and

  deteriorating physical and mental health make him susceptible to COVID-19. Jackson Request,

  Ex. 1 to Gov’t Resp. (Dkt. 1341-1). He also sought release due to his mother’s poor health. Id.

  The warden denied relief. Warden Denial, Ex. 2 to Gov’t Mot. (Dkt. 1341-2).

           Jackson is twenty-seven years old and has a body mass index of approximately 33. Resp.

  at 20. His medical records do not reflect asthma or any other health conditions that might make

  him more susceptible to the more serious symptoms of COVID-19. See Jackson Med. R., Exs. 3

  and 4 to Gov’t Resp. (Dkts. 1341-3 and 1341-4).

           Jackson now seeks a reduction in sentence from this Court under the First Step Act.

                                    I.      LEGAL STANDARD

           The First Step Act modified the statute concerning the compassionate release of federal

  prisoners, 18 U.S.C. § 3582, such that district courts may entertain motions filed by incarcerated

  defendants seeking to reduce their sentences. United States v. Jones, 980 F.3d 1098, 1100 (6th

  Cir. 2020). A sentence modification decision under 18 U.S.C. § 3582(c)(1)(A) is a three-step

  inquiry. Id. A district court must first find that both “extraordinary and compelling reasons”

  warrant a sentence reduction, and that “such a reduction is consistent with applicable policy

  statements issued by the Sentencing Commission.” Id. (quoting 18 U.S.C. § 3582(a)). If those




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      BOP website: https://perma.cc/K9WC-6ZM8 (last visited on December 23, 2020).
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  two steps are satisfied, a district court must then consider all relevant factors under 18 U.S.C. §

  3553(a).

         With respect to the second step, in the commentary to U.S.S.G. § 1B1.13, the Sentencing

  Commission has enumerated several extraordinary and compelling reasons justifying a reduction

  of sentence, including the “Medical Condition of the Defendant,” “Age of the Defendant,” and

  “Family Circumstances.”      U.S.S.G. 1B1.13 cmt. n.1(A)-(C). Some examples of compelling

  reasons are medical conditions “with an end of life trajectory,” a defendant’s serious physical

  deterioration related to the aging process, and death or incapacitation of a caregiver of a

  defendant’s minor child or children. Id. The Guidelines also contemplate “Other Reasons” where

  the defendant has “extraordinary and compelling reasons other than, or in combination with” the

  other enumerated reasons. U.S.S.G. 1B1.13 cmt. n.1(D).

         Recently, in Jones, the Sixth Circuit held that U.S.S.G 1B1.13 does not apply to imprisoned

  person filed motions for compassionate release, because the section is directed to the BOP. 980

  F.3d at 1109. It said that, “[u]ntil the Sentencing Commission updates § 1B1.13 to reflect the First

  Step Act, district courts have full discretion in the interim to determine whether an ‘extraordinary

  and compelling’ reason justifies compassionate release when an imprisoned person files a §

  3582(c)(1)(A) motion.” Id.; accord United States v. Ruffin, 978 F.3d 1000, 1007 (6th Cir. 2020).

  Therefore, Jackson’s motion requires a two-step inquiry asking whether extraordinary and

  compelling reasons warrant a sentence reduction, and whether a sentence reduction is appropriate

  after considering the relevant § 3553(a) factors.

                                         II.     ANALYSIS

         Because the Government concedes that, in light of the COVID-19 pandemic, Jackson’s

  BMI is an extraordinary and compelling reason warranting a sentence reduction, Resp. at 20,



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  Jackson’s motion turns on consideration of the § 3553(a) factors.2 The § 3553(a) factors do not

  favor a sentence reduction.

            The § 3553(a) factors include the nature and circumstances of a defendant’s offenses and

  the history and characteristics of the defendant, the seriousness of the offenses, and the need to

  protect the public from further crimes by the defendant. Jackson is a member of a violent, criminal

  street gang, and conspired to commit murders and trafficked controlled substances. He served a

  sentence in 2013 and 2014 related to a firearm charge, during which time he had 24 separate rule

  violations. Gov’t Resp. at 23. While awaiting trial in this case, Jackson received multiple

  sanctions, one for fighting, another for assaulting without serious injury, and another for a sexual

  misconduct violation. See BOP Disc. R., Ex. 5 to Gov’t Resp. (Dkt. 1341-5). Given the

  seriousness of Jackson’s offense, his criminal history, his inability to abide by rules, and the

  significant time remaining on his sentence, the § 3553(a) factors do not favor his release.

                                        III.   CONCLUSION

            For the reasons stated above, Jackson’s motion for compassionate release (Dkt. 1329) is

  denied.

            SO ORDERED.

  Dated: December 28, 2020                             s/Mark A. Goldsmith
         Detroit, Michigan                             MARK A. GOLDSMITH
                                                       United States District Judge




  2
   The Court notes that Jackson also argues that his release is warranted due to the incapacitation
  of his minor child’s caretaker. Mot. at 5. However, as the Government notes, this justification
  was not presented to the warden. Resp. at 14-15. Therefore, that justification has not been
  exhausted, which the Sixth Circuit has made clear is required, United States v. Alam, 960 F.3d
  831, 836-837 (6th Cir. 2020), and will not be considered in this opinion.
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                                  CERTIFICATE OF SERVICE

  The undersigned certifies that the foregoing document was served upon counsel of record and any
  unrepresented parties via the Court's ECF System to their respective email or First Class U.S. mail
  addresses disclosed on the Notice of Electronic Filing on December 28, 2020.

                                                       s/Karri Sandusky
                                                       Case Manager




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